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                             UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF TEXAS
                                   EL PASO DIVISION


  UNITED STATES OF AMERICA,                        §
                                                   §
                Plaintiff,                         §
i V.                                               §             EP-20-CR-00389-DCG
                                                   §
 PATRICK WOOD CRUSIUS,                             §
                                                   §
                Defendant,                         §

                                              ORDER


       On this day, the Court sua sponte considered the above-captioned case. On February 28,

2020, the Court set this case for a status hearing on Monday, March 2,2020, at 3:00 p.m. for the

purposes of addressing the parties' concerns on the Court's January 6, 2020 protective order,

attached at the end of this order, covering Defendant Patrick Crusius's pre-trial jail visitor logs

and correspondence. ECF No. 54. In communications with the Court, the parties have advised

the Court that they have agreed to a revised protective order that would best serve the interests of

the parties. Upon the motion of the parties, and for good cause shown, the Court issues the

following orders:

       IT IS ORDERED that the status hearing initially set for Monday, March 2,2020, at 3:00
                                                                              /




p.m., see "Order Setting Status Hearing" (ECF No. 54), is HEREBY VACATED.

       IT IS FURTHER ORDERED that the seal imposed by this Court on the "Order

Granting Defendant's Motion for Protective Order" is REMOVED.

       IT IS FURTHER ORDERED that the Court's "Order Granting Defendant's Motion for

Protective Order" issued on January 6, 2020, is VACATED.
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IT IS FURTHER ORDERED that, pursuant to the parties' agreement:

1. Any logs or documents maintained at the El Paso County Jail regarding visitation

   with Defendant Patrick Crusius and his defense team must be maintained by jail

   personnel in a private place and may not be accessed, collected, discussed with or

   viewed by any members of the public including any law enforcement officers or

   prosecutors from either the State of Texas or the United States, absent further Order

   of this Court.


2. "Defense Team" is defined as any persons working under the supervision and

   guidance of any court-appointed counsel by either this Court or any State Court, to

   represent Patrick Crusius. This includes but is not limited to attorneys, investigators,

   and professionals in different fields of expertise such as psychologists, doctors, social

   workers and other professionals who would likely be deemed "experts" in court.

   "Defense Team" does not include 'civilian' lay people who are friends or family

   members of Patrick Crusius or other non-professional persons who are seeking to

   visit or correspond with Mr. Crusius without supervision or authorization of either

   defense team.


3. Neither the Sheriff nor the United States Marshall shall permit any person to visit

   Patrick Crusius without first obtaining permission from court appointed counsel either

   from the State or Federal Defense Team. A list of approved visitors will be

   maintained at the jail.

4. Any such 'civilians' who are necessary as witnesses in the judgment of either defense

   team and who need to visit Mr. Crusius in a non-monitored, confidential setting, must

   first be approved by either the State or Federal court in an ex parte sealed Motion for




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   Confidential Visit, outlining for the Court who the person is, and why this person's

   visit is necessary and should be confidential. If the Court grants the motion, an ex

   parte sealedOrderto seal those particular visits will be issuedby eitherthe State or

   Federal court.


5. Logs regarding visitation between the Defendant and his defense team may be viewed

   by members of the state and federal defense teams representing the Defendant.

6. Logs or documents maintained at the El Paso County Jail regarding visitation

   between the Defendant and individuals other than his defense team may be

   maintained in the normal fashion as determined by officials from the United States

   Marshals Service and the El Paso County Sheriffs Office.

7. Both the United States and the 34th Judicial District Attorney's Office may access,

   collect, discuss, and otherwise view the contents of logs regarding visitation between

   the Defendant and individuals other than his defense team.

8. The United States and the 34th Judicial District Attorney's Office as well as any other

   persons not affiliated with the defense teams, are prohibited from copying or

   reviewing, either directly or indirectly, the Defendant's written correspondence to

   either his State or Federal Defense teams while he is incarcerated during the

   pendency of this case.

9. The United States and the 34th Judicial District Attorney's Office may monitor, copy,

   and otherwise review, either directly or indirectly, the Defendant's communications,

   both telephonic and written, that are non-privileged and made to parties other than his

   State and Federal Defense teams.
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       10. Nothing shall prohibit Sheriff Wiles or the Sheriffs Office from consulting with their

           legal counsel in the El Paso County Attorney's Office regarding matters pertaining to

           this Order or the January 6,2020 Protective Order. SheriffWiles andthe Sheriffs

           Office shallnot be prohibited from disclosing information or documents covered by

           the Protective Order to their legal counsel when seeking legal advice as to how to

           properly comply with the Protective Order.

       11. Sheriff Wiles and the Sheriffs Office shall be prohibited from divulging or

           discussing information or documents covered by the Protective Order when sought in

           accordance with Texas, or any other, laws. If a request for records covered by the

           January 6, 2020 order would normally require a submission of responsive documents

           to the Texas Attorney General under Texas Government Code, section 552.301(e),

           Sheriff Wiles, the Sheriffs Office and their legal counsel, are prohibited from

           sending the responsive documents to the Texas Attorney General, but must instead

           send a copy of this order and the January 6,2020 order to the Texas Attorney

           General.

       IT IS FURTHER ORDERED that the contents of this Order may be shared with any

relevant member of the United States Marshals Service; El Paso, Texas, County official; member

of the United States Attorney's Office for the Westem District of Texas; and member of the 34th

Judicial District Attorney's office whose cooperation is necessary to implement the Court's

orders as provided herein.

       IT IS FINALLY ORDERED that today's Order shall remain in effect until further order

of the Court.




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So ORDERED and SIGNED this     day of March 2020.




                               DAVID C. GUADERRAMA
                               UNITED STATES DISTRICT JUDGE




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